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EXHIBIT A-
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Cristina C. Arguedas (Cal. Bar No. 87787)
Ted W. Cassman (Cal. Bar No. 98932)
Julie A. Salamon (Cal. Bar No. 214298)
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Attorneys for James Larkin

UNITED STATES OF AMERICA,

vs.

JAMES LARKIN, et al.

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ARIZONA

NO. CR 18-0422-PHX-SLP

DECLARATION OF JAMES
LARKIN

Plaintiff,

Defendants.

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|, James Larkin, declare as follows:

1.

2.

| am one of the defendants in the above-entitled matter.

| am currently represented in this matter by attorneys Cristina C.
Arguedas, Ted W. Cassman, Julie A. Salamon, and James C. Grant.

| have decided that | no longer wish to be represented by Cristina C.
Arguedas, Ted W. Cassman, and Julie A. Salamon.

| join and concur in their motion to withdraw as my attorneys.

| declare under penalty of perjury that the foregoing is true and correct to

the best of my personal knowledge and belief.

Oo won n un BP W NY

mh ww YH WH KY NY WN ND YH FP SP KP FP KF PS eS
co NO MW BR WwW NYO KF OD UO DANI A aA fF WY FY CO

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Executed this 23" day of April 23, 2018 in Maricopa County, Arizona.

